Case 3:16-md-02738-MAS-RLS Document 32111 Filed 04/25/24 Page 1 of 1 PageID: 181355

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                                                   April 24, 2024

    Honorable Michael A. Shipp, U.S.D.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

    Honorable Rukhsanah L. Singh, U.S.M.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

    Re:     Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and Products Liability Litigation
            Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Shipp and Judge Singh:

            The PSC respectfully requests leave of Court to file a short reply of ten pages or less in
    support of their Motion for Reconsideration of the Court’s March 27, 2024 Text Order For a
    Full Refiling of Daubert Motions. ECF No. 31080. Defendants’ Opposition raises arguments that the
    PSC seeks to briefly address, including certain claims about purported “new” studies, experts, and
    opinions, as well as Defendants’ contention that it is not manifestly unjust to require a full refiling of
    all Daubert motions. ECF No. 32026.

             The PSC’s Motion for Reconsideration is noticed for May 6. The PSC therefore submits
    that if the Court grants them leave to file a reply, the reply would be filed no later than April
    29.

    Thank you for your consideration of this request.
                                                                       SO ORDERED on this 25th day of April 2024,
    Respectfully,

    BURNS CHAREST LLP
                                                                       _____________________________
                                                                       MICHAEL A. SHIPP
    __________________________________________                         UNITED STATES DISTRICT COURT JUDGE
    Amanda Klevorn, Partner

    cc:     Susan Sharko, Esq. (via email)
            Stephen D. Brody, Esq. (via email)
            All Counsel (via ECF)




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